     Case 2:01-cv-00503-WBS-GGH Document 76 Filed 06/08/05 Page 1 of 2

 1   HAROLD J. McELHINNY (BAR NO. 66781)
     RACHEL KREVANS (BAR NO. 116421)
 2   MATTHEW I. KREEGER (BAR NO. 153793)
     MORRISON & FOERSTER LLP
 3   425 Market Street
     San Francisco, California 94105
 4   Telephone: (415) 268-7000
     Facsimile: (415) 268-7522
 5
     ERIC S. WALTERS (BAR NO. 151933)
 6   MORRISON & FOERSTER LLP
     755 Page Mill Road
 7   Palo Alto, California 94304-1018
     Telephone: (650) 813-5600
 8   Facsimile: (650) 494-0792

 9   Attorneys for Plaintiff
     CHIRON CORPORATION
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12                             UNITED STATES DISTRICT COURT

13                           EASTERN DISTRICT OF CALIFORNIA

14                                    SACRAMENTO DIVISION

15   CHIRON CORPORATION,                             No. CIV. S-01-0503 WBS GGH

16                             Plaintiff,            STIPULATION AND [PROPOSED]
                                                     ORDER OF DISMISSAL WITH
17       v.                                          PREJUDICE

18   GENENTECH, INC.,

19                             Defendant.

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     STIPULATION AND [PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE
     CIV. S-01-0503 WBS GGH

     sf-1940629
     Case 2:01-cv-00503-WBS-GGH Document 76 Filed 06/08/05 Page 2 of 2

 1          IT IS HEREBY STIPULATED by and between plaintiff Chiron Corporation and

 2   defendant Genentech, Inc. that this action be dismissed with prejudice in all respects pursuant to

 3   Rule 41(a) of the Federal Rules of Civil Procedure. Each party shall bear its own attorneys’ fees

 4   and costs incurred in connection with this action.

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     Dated: June ___, 2005                                 MORRISON & FOERSTER
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 8                                                    By: /s/ (as authorized on June 2, 2005)
                                                          HAROLD J. McELHINNY
 9                                                        Attorneys for Plaintiff
                                                          CHIRON CORPORATION.
10
     Dated: June ___, 2005                                 KEKER & VAN NEST, LLP
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13
                                                      By: /s/ (as authorized on June 2, 2005)
14                                                         JOHN W. KEKER
                                                           Attorneys for Defendant
15                                                         GENENTECH, INC.

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17   PURSUANT TO STIPULATION, IT IS SO ORDERED.
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19   Dated: June 7, 2005

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     STIPULATION AND [PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE                                         1
     CIV. S-01-0503 WBS GGH

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